Case 1:11-cv-00627-TSE-JFA Document 112-2 Filed 11/29/11 Page 1 of 13 PagelD# 2705

EXHIBIT 2

 
Case 1:11-cv-00627-TSE-JFA Document 112-2 Filed 11/29/11 Page 2 of 13 PagelD# 2706

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

ALEXANDRIA DIVISION
3M COMPANY, )
)
Plaintiff, )
)
V ) CIVIL ACTION NO. 1:11cv627
)
CHRISTIAN INVESTMENTS LLC, )
D/B/A PROTECTED DOMAIN )
SERVICES, et al., )

Defendants.

 

DECLARATION OF WENDY C. LARSON IN SUPPORT OF
PLAINTIFF’S NOTICE OF ERRATA

I, Wendy C. Larson, declare as follows:

1. Iam an attorney with Pirkey Barber LLP, 3M’s outside counsel in this lawsuit.

2. Attached as Exhibit A is a copy of the cease and desist letter addressed to “Arthit”
alerting the defendant to 3M’s objection to his/her use of ssswin.me.

3. Attached as Exhibit B is a copy of the cover letter to “Arthit” transmitting a courtesy
copy of the complaint in this lawsuit.

4. Attached as Exhibit C are Whois records for domain names owned by MS and Arthit
reflecting use of the same email address (sss_callcenter@hotmail.com) in the ownership

contact information.
Case 1:11-cv-00627-TSE-JFA Document 112-2 Filed 11/29/11 Page 3 of 13 PagelD# 2707

I declare under the penalty of perjury that the foregoing is true and correct.

Executed in Austin, Texas on this 29th day of November, 2011.

| beiddg fee —

endy C. Larson
Case 1:11-cv-00627-TSE-JFA Document 112-2 Filed 11/29/11 Page 4 of 13 PagelD# 2708

EXHIBIT A

 

 
Case 1:11-cv-00627-TSE-JFA Document 112-2 Filed 11/29/11 Page 5 of 13 PagelD# 2709

  

Pirkey acces ue Steven M. Espenshade
(512) 482-5242
sespenshade@pirkeybarber.com

June 8, 2011

VIA EMAIL: SSS_CALLCENTER@HOTMAIL.COM

Arthit

SSS Company
Bangkok

Sa Kaeo

TH 27120

Re: Violation of the Trademark Rights of 3M Company
(Our Reference 3MTM-130)

This law firm represents 3M Company (“3M”) in trademark and unfair competition
matters, We write concerning your use of 3M’s mark in connection with your website at
WW. ssswin.me.

As you undoubtedly know, 3M is one of the world’s most well-known and respected
companies, offering more than 50,000 products and services under the famous mark and name
3M (“the 3M Mark”). 3M sells and distributes its products and services worldwide through a
number of affiliates, including its subsidiary in Thailand named 3M Thailand Ltd. The 3M Mark
has been widely used for decades in connection with these products and services, and 3M owns a
number of incontestable federal registrations for the 3M Mark. See, e.g, U.S. Reg. Nos.
1,445,795; 1,490,732; and 1,959,110. Further, 3M owns numerous registrations in Thailand for
the 3M Mark, among many other jurisdictions. See, e.g. Thailand Reg. Nos. KOR57338;
BOR8629; and BOR8244. 3M also maintains an official website at www.3M.com, which makes
extensive use of the 3M Mark.

As a result of its long and widespread use and promotion, the public strongly identifies
the 3M Mark with 3M and its goods and services. Consequently, 3M enjoys valuable goodwill,
as well as strong and enforceable rights, in that mark. Because this goodwill is important to 3M,
it cannot permit others to use the 3M Mark in a way that is likely to cause confusion as to any
nonexistent sponsorship or affiliation with 3M, or to dilute or tarnish the 3M Mark.

3M is highly concerned that you are prominently using a colorable imitation of its mark

in association with the online gambling websites you operate at www.ssswin.me, including as
shown below:

542.322.5200 Fax: 512.322.5201 600 Congress Avenue Suite 2120 Austin, Texas 78701 www pirkey bhatbear.ces

 
Case 1:11-cv-00627-TSE-JFA Document 112-2 Filed 11/29/11 Page 6 of 13 PagelD# 2710

June 8, 2011
Page 2

 

Your website also features several links titled “3M” which divert users to third party gambling
websites not owned or controlled by 3M. As you target Thai consumers and online gambling is
illegal in Thailand, your use is especially troubling.

Your prominent use of the 3M Mark in this manner on your website is highly likely to
confuse consumers into believing that your website is in some way affiliated with or approved by
3M. Your use is also likely to dilute the distinctive quality of the famous 3M Mark. Thus, your
use violates 3M’s trademark rights. See, e.g, 15 U.S.C. §§ 1114(1), 1125(a), and 1125(c).

Accordingly, we demand that you (1) immediately cease all use of the 3M Mark; and (2)
agree that in the future you will not use any name or mark confusingly similar to the 3M Mark or
any other mark owned by 3M. 3M would prefer to resolve this matter without litigation but is
prepared to take whatever steps are necessary to prevent its 3M Mark from being infringed and
diluted, particularly in an egregious case such as this.

We ask you to respond as soon as possible giving your assurance that you will promptly
comply with the above demands. You may indicate your agreement by returning this letter to us
with your signature in the spaces provided below.

Very truly yours,

A tito

Steven M. Espenshade

AGREED:

Signature:

 

Name:

 

Title:

 

Date:

 

 
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EXHIBIT B

 

 
Case 1:11-cv-00627-TSE-JFA Document 112-2 Filed 11/29/11 Page 8 of 13 PagelD# 2712

 
 

Wendy C. Larson
Pirkey oro" up (512) 482-5231
wlarson@pirkeybarber.com

June 13, 2011

Vis EMAIL: SSS CALLCENTER@HOTMAIL,COM

Arthit

SSS Company
Bangkok

Sa Kaeo

TH 27120

Re: 3M Company Lawsuit (3MTM:130)

Dear Sir or Madam:

As you know, this law firm represents 3M Company (“3M”) in trademark and unfair
competition matters. We have previously contacted you regarding your role as a domain name
registrant, hosting service provider, and/or provider of other services for websites which violate
the trademark rights of 3M, and you have either ignored our correspondence or otherwise refused
to fully comply with 3M’s demands.

The purpose of this letter is to inform you that we have filed a lawsuit in the United
States District Court for the Eastern District of Virginia, naming you as a defendant in
connection with these activities. A courtesy copy of the complaint is attached. We are in the
process of arranging to formally serve the complaint and summons on you. Moreover, we will
soon be filing a motion for preliminary injunction, which will be served on you separately.

If you have any questions or would like to discuss resolving this matter, please feel free
to call me or respond by email.

Sincerely,

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ue cs Nf fen
Xt AA wk. ig fc tole en

f
f
i

Wendy C. Larson

512.322.5200 Fax: 512.322.5201 600 Congress Avenue Suite 2120 Austin, Texas 78701

 
Case 1:11-cv-00627-TSE-JFA Document 112-2 Filed 11/29/11 Page 9 of 13 PagelD# 2713

EXHIBIT C

 

 
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DomainTools -ssswinme Whois Search Search

 

 

Overview Whois Lookup Reyerse Whois Whois History Hosting History Screenshot History Name Server Report Reverse iP DNS Toals
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Whois Record For SsSwin.me Acquire this Domain Name Like 1k

Add Missing Screenshot:
Search Whois Records Search Queue Screenshot For Addition

You the smart one? Let us
Whois Record = Site Profile Registration Server Stats © My Whois show you the job you dream of

Whois Record

 
  

   
 

Reverse Whois: “sss company" owns about 8&1 other domains

      

Email Search: , at GRAB YOUR, ESsDOMAIN, @
mall searcn: : is associated with about 30 domains ROR CCM En 7 Sree! .

Aes lecieeiae Purse x

Whois History: 25 records have been archived since 2011-04-21 |
Reverse IP: 4 other site is hosted on this server.

. , ot . Country TLOs General TLDs
ii Domain Monitor supports .com, .net, .org, .biz, info, and .us domains

Available domains for registration:

 

 

{_] SsSwin.at Register
{[] SsSwin.be Register
Domain ID:D1749670-ME [_] SsSwin.ch Register

Domain Name:SSSWIN.ME
Domain Create Date: 14-Dec-2010 12:04:04 UTC
Domain Last Updated Date:28-Oct-2011 02:52:12 UTC

 

SsSwin.cn Register

Domain Expiration Date:14-Dec-2011 12:04:04 UTC C7] SsSwin.co.uk Register
Last Transferred Date:

Sponsoring Registrar:Directi Internet Solutions d/b/a PublicDomainRegistry.com R28-ME mq SsSwin.de Register
Created by:Directi Internet Solutions d/b/a PublicDomainRegistry.com R28-ME _ ~~

Last Updated by Registrar:Directi Internet Solutions d/b/a PublicDomainRegistry.com R28- .
ME [7] SsSwin.dk Register
Domain Status:CLIENT TRANSFER PROHIBITED .
Registrant ID:DI_9136252 3 SsSwin.es Register

Registrant Name:Arthit
Registrant Organization:sss company
Registrant Address: Bangkok

SsSwin.eu Register

 

Registrant Address2:Bangkok (| SsSwin.f Register
Registrant Address3:
Registrant City:Sa Kaew Realster All Selected > Show all (19) >

Registrant State/Province:Sa Kaeo
Registrant Country/Economy:TH
Registrant Postal Code:27120
Registrant Phone:+66.828898896
Registrant Phone Ext.:

Registrant FAX:
Registrant FAX Ext.

 

alts

   

Registrant E~mail: %

Admin ID:DI_9136252

Admin Name:Arthit

Admin Organization:sss company
Admin Address: Bangkok

Admin Address2:Bangkok

Admin Address3:

Admin City:Sa Kaew

Admin State/Province:Sa Kaeo
Admin Country/Economy: TH

Admin Postal Code:27120

Admin Phone:+66.828898896
Admin Phone Ext.:

Admin FAX:

Admin FAX Ext.:

Admin E-mail:
Tech ID:DI_ 9136252

Tech Name:Arthit

Tech Organization:sss company
Tech Address: Bangkok

Tech Address2: Bangkok

Tech Address3:

Tech City:Sa Kaew

Tech State/Province:Sa Kaeo
Tech Country/Economy: TH

Tech Postal Code:27120

 

 

http://whois.domaintools.com/ssswin.me 11/29/2011

 
Ssfsel f:the-cGs0O627-TSE-JFA Document 112-2

Tech Phone: +66.828898896
Tech Phone Ext.:

Tech PAX:

Tech FAX Ext.

Tech E-mail: #35. OA

Nameservers: SIANARAN. DYNDNS.ORG
Nameservers :SSSIN88,DYNDNS.ORG
Nameservers:
Nameservers:
Nameservers:
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http://whois.domaintools.com/ssswin.me

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App Store

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DomainTools

_ Whois Search =, Search

   

Overview Whois Lookup Reverse Whois Whois History Hosting History Screenshot History Name Server Report Reverse JP DNS Tools

Whois Record For SsSwin.com -7 Acquire this Domain Name Like 1k

Search Whois Records Search

Whols Record Site Profile Registration Server Stats My Whols

Whois Record

Email Search:

 

\_ is associated with about 30 domains

Registrar History: ‘reqlstrar
NS History: 9 changes on 6 unique name servers over 6 years.
IP History: 8 changes on 6 unique IP addresses over 2 years.
Whois History: 62 records have been archived since 2009-08-29 .
Reverse IP: 142,807 other sites hosted on this server.

 

 

 

 

Updated

Domain: ssswin.com
Status: Protected You the smart one? Let us

show you the job you dream of
DNS:

ns1157,websitewelcome.com
ns1158.websitewelcome.com

Created: 2009-08-26 00:00:00
Expires: 2012-08-26 00:00:00
Last Modified: 2009-08-26 22:55:02

 

Registrant Contact:

 

 

   

N/A Country TLDs General TLDs
MS [ : a x
Bangkok Available domains for registration:
Bangkok, BangKhen, th 10230 T7 SsSwin.at Register
P: +66.10230 F; -

Administrative Contact: Cl SsSwin.be Register
I .
Ms (88 [7] SsSwin.ch Register
Bangkok [2] Ssswin.cn Register

Bangkok, BangKhen, th 10230
P; +66.10230 F:

 

_ SsSwin.co.uk Register
Technical Contact:

 

   

N/A (77 SsSwin.de Register
MS
(_] SsSwin.dk Register

Bangkok aK

Bangkok, BangKhen, th 10230 a .

P; +66.10230 F: [_] SsSwin.gs Register
Billing Contact: ["} SsSwin.ew Register

N/A

MS { SsSwin.fr Register

Bangkok

Bangkok, BangKhen, th 10230 Register All Selected > Show all (19) >

P: +66,.10230 F:

 

Membersnios | Dovalon:

 

 

http://whois.domaintools.com/ssswin.com 11/29/2011

 
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